Report: Balance Sheet
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                                        Meadowbrook Acres
                                          Balance Sheet
                                         As of December 31, 2011

                                                                     Total
                       ASSETS
                        Current Assets
                         Bank Accounts
                            Cash                                             0.00
                            Chase                                     8,957.93
                             Checking                               -40,615.01
                          Total Bank Accounts                      $ -31,657.08
                          Accounts Receivable
                           Accounts Receivable                      101,204.57
                          Total Accounts Receivable                $101,204.57
                           Other Current Assets
                            Advance - MASF,LLC                      130,478.08
                            Gommon Stock Subscribed                   2,000.00
                             Escrow                                      -72.06
                             Loan to Meadowbrook Maintenance                 0.00
                             Undeposited Funds                               0.00
                          Total Other Current Assets               $132,406.02
                        Total Current Assets                       $201,953.51
                         Fixed Assets
                           Brighton Shop                                     0.00
                            Accumulated Depreciation                         0.00
                          Total Brighton Shop                                0.00
                           Furniture & Fixtures                        1,841.22
                            Depreciation                              -1,430.41
                           Total Furniture & Fixtures                   410.81
                           Land                                              0.00
                           Machinery & Equipment                    560,722.64
                            Depreciation                           -543,629.17
                          Total Machinery & Equipment                17,093.47
                           Office Equipment                           3,895.06
                            Depreciation                              -3,492.34
                           TotalOffice Equipment                        402.72
                          Vehicles                                  277,040.64
                           Depreciation                            -271,115.13
                           TotalVehicles                              5,925.51

                        Total Fixed Assets                          $23,832.51

                       TOTAL ASSETS                                $225,786.02
                       LIABILITIES AND EQUITY
                         Liabilities


                                              CONFIDENTIAL         Rover-From Simchecks 9341
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